






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-03-00465-CV







In re Guadalupe Guajardo, Jr.








ORIGINAL PROCEEDING FROM TRAVIS COUNTY






M E M O R A N D U M   O P I N I O N




The petition for writ of mandamus is denied.  See Tex. R. App. P. 52.8(a).  The
relator's appeal from the district court has been filed as cause number 03-03-00539-CV.



				__________________________________________

				W. Kenneth Law, Chief Justice

Before Chief Justice Law, Justices B. A. Smith and Patterson

Filed:   September 29, 2003


